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 5
     Attorney(s) for Rothschild Broadcast Distribution Systems, LLC
 6

 7
                     IN THE UNITED STATES DISTRICT COURT
 8                FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9

10
      ROTHSCHILD BROADCAST
      DISTRIBUTION SYSTEMS, LLC,
11                                                  CASE NO.: 3:21-cv-04553-WHO
                         Plaintiff,
12
      v.                                            PLAINTIFF’S ANSWERS AND
13
                                                    DEFENSES TO
      YANKA INDUSTRIES, INC. d/b/a
14
      MASTERCLASS,                                  DEFENDANT’S
15                                                  COUNTERCLAIMS
                         Defendant.
16

17

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19
           Now comes Plaintiff, Rothschild Broadcast Distribution Systems, LLC

20
     (“Plaintiff,” “Counterclaim Defendant,” or “RBDS”), by and through undersigned

21
     counsel, pursuant to Federal Rules of Civil Procedure 12, without admission of the legal

22
     sufficiency thereof and responding only to the factual allegations therein, and states as

23
     follows for its Answer and Defenses to Defendant and Counter Plaintiff Yanka

24
     Industries, Inc d/b/a MasterClass’ (“Defendant,” “Counterclaim Plaintiff,” or

25
     “MasterClass”) Counterclaims [Doc. 14] (hereafter the “Counterclaims”) as follows:

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                                               1
                PLAINTIFF’S ANSWERS AND DEFENSES TO DEFENDANT’S COUNTERCLAIMS
       Case 3:21-cv-04553-WHO Document 17 Filed 07/13/21 Page 2 of 3




 1                                        PARTIES
 2         1.     RBDS has insufficient knowledge of the allegations contained in
 3   paragraph 1 and therefore denies same.
 4         2.     Admitted.
 5                                     JURISDICTION
 6         3.     RBDS incorporates by reference each of its answers in paragraphs 1-2
 7   above.
 8         4.     RBDS admits that jurisdiction is proper.
 9         5.     Admitted.
10         6.     RBDS admits that venue is proper. RBDS denies any remaining
11   allegations in paragraph 6.
12                                        COUNT I
13         7.     RBDS incorporates by reference each of its answers in paragraphs 1-6
14   above.
15         8.     RBDS admits that an actual controversy exists concerning infringement of
16   the ‘221 Patent. RBDS denies any remaining allegations contained in paragraph 8.
17         9.     Denied.
18         10.    RBDS admits that MasterClass seeks a declaratory judgment. RBDS
19   denies any remaining allegations contained in paragraph 10.
20                                        COUNT II
21         11.    RBDS incorporates by reference each of its answers in paragraphs 1-10
22   above.
23         12.    RBDS admits that an actual controversy exists regarding validity of the
24   ‘221 Patent. RBDS denies any remaining allegations contained in paragraph 12.
25         13.    Denied.
26         14.    RBDS responds that the referenced document speaks for itself.
27         15.    RBDS responds that the referenced document speaks for itself.
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                 PLAINTIFF’S ANSWERS AND DEFENSES TO DEFENDANT’S COUNTERCLAIMS
       Case 3:21-cv-04553-WHO Document 17 Filed 07/13/21 Page 3 of 3




 1         16.    RBDS admits that MasterClass seeks a declaratory judgment. RBDS
 2   denies any remaining allegations contained in paragraph 16.
 3                                  PRAYER FOR RELIEF
 4         To the extent a response is required, RBDS denies that MasterClass is entitled to
 5   any of the relief requested.
 6

 7   Dated: July 13, 2021                   Respectfully submitted,
 8
                                            /s/ Stephen M. Lobbin
 9                                          Stephen M. Lobbin
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13

14                                          Attorney(s) for Plaintiff Rothschild
                                            Broadcast Distribution Systems, LLC
15

16                              CERTIFICATE OF SERVICE

17          I hereby certify that on July 13, 2021, I electronically transmitted the foregoing
18   document using the CM/ECF system for filing, which will transmit the document
     electronically to all registered participants as identified on the Notice of Electronic
19   Filing, and paper copies have been served on those indicated as non-registered
20   participants.
                                              /s/ Stephen M. Lobbin
21                                            Stephen M. Lobbin
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                 PLAINTIFF’S ANSWERS AND DEFENSES TO DEFENDANT’S COUNTERCLAIMS
